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15                     UNITED STATES DISTRICT COURT
16               FOR THE SOUTHERN DISTRICT OF CALIFORNIA
                                 (San Diego)
17
18 AL OTRO LADO, Inc., et al.,                Case No. 3:17-cv-02366-BAS-KSC
19                           Plaintiffs,      Hon. Cynthia A. Bashant
20
                       v.                     DEFENDANTS’ OPPOSITION
21                                            TO PLAINTIFFS’ MOTION FOR
22 Chad F. WOLF, Acting Secretary of          CLARIFICATION OF THE
   Homeland Security, in his official ca-     PRELIMINARY INJUNCTION
23
   pacity, et al.,
24
25                         Defendants*
26
27
      *
28     Acting Commissioner Morgan is automatically substituted as a Defendant for for-
      mer Commissioner McAleenan pursuant to Federal Rule of Civil Procedure 25(d).
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1                                      INTRODUCTION
2           This Court should deny Plaintiffs’ Motion to Clarify the Preliminary Injunc-
3     tion. This Court’s order is clear: “Defendants are hereby enjoined from applying the
4     [rule]” to class members and are “ordered to return to the pre-[rule] practices for
5     processing the asylum applications of” class members. Order Granting Pls.’ Mot. for
6     Class Certification and Pls.’ Mot. for Prelim. Inj. 36 (ECF No. 330; PI Order) (em-
7     phases altered). Contrary to Plaintiffs’ strained reading, the order’s language is pro-
8     spective only. It prohibits Defendants from applying the rule to class members, but
9     it does not require Defendants to undo things already lawfully done. Asylum denials
10    that were issued pursuant to the rule and which became administratively final before
11    the injunction was issued or while the injunction was stayed do not violate the in-
12    junction. Further, neither this Court’s nor the Ninth Circuit’s orders require the gov-
13    ernment to affirmatively reopen and readjudicate those lawful asylum denials. In-
14    deed, that relief would be inconsistent with a preliminary injunction’s purpose to
15    prevent irreparable injury; a stay order’s purpose to preserve the status quo; and the
16    rule that final judgments are not entitled to be reopened and readjudicated under
17    later-announced standards. The government is complying with the order’s clear
18    terms, so there is no need for any clarification.
19          Further, this Court should not order that the Executive Office for Immigration
20    Review (EOIR) is bound by the injunction. Although EOIR is not a party to this
21    litigation and the injunction is not directed to it, EOIR has voluntarily agreed to
22    comply. It has issued legal guidance to its adjudicators regarding the injunction and
23    supplemental legal guidance to address allegations of non-compliance. Following
24    that guidance, immigration judges have sua sponte reopened a number of class mem-
25    bers’ proceedings and granted them asylum. Plaintiffs claim to have identified six
26    instances of alleged non-compliance that warrant “clarification” that EOIR is bound.
27    But none of the cases involves an existing asylum denial issued pursuant to the rule
28    that became final while the injunction was in effect. So there are no violations that


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1     warrant clarification. In any event, Plaintiffs are wrong that EOIR “work[s] with”
2     the Department of Homeland Security (DHS) to apply the rule, Mot. 13, and there-
3     fore is bound by the injunction under Federal Rule of Civil Procedure 65(d)(2). By
4     law, immigration judges are independent administrative judges who review negative
5     credible-fear determinations made by U.S. Citizenship and Immigration Services’
6     (USCIS) asylum officers and adjudicate asylum applications in removal proceedings
7     where U.S. Immigration and Customs Enforcement (ICE) is a party. EOIR does not
8     “work with” DHS any more than appellate courts work with trial courts or judges
9     work with prosecutors.
10          Finally, this Court should reject Plaintiffs’ demand that the government create
11    a comprehensive list of class members, including those who were denied asylum
12    before the injunction was issued or while the injunction was stayed, and provide
13    them with notice of the preliminary injunction. The government reasonably has
14    sought to identify class members while the injunction was in effect through the cred-
15    ible-fear screening process and through evidence submitted by individuals in the
16    course of their immigration proceedings, as this Court allowed. See PI Order 28.
17    Further, class members’ awareness of the injunction is immaterial because the gov-
18    ernment is complying with the order’s clear terms. See Wal-Mart Stores, Inc. v.
19    Dukes, 564 U.S. 338, 363 (2011). In any event, if the representative plaintiffs wish
20    for class members to have notice, it is their job to provide it, not the government’s.
21    See Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 356 (1978). Plaintiffs fail to
22    show why the government should be required to shoulder this substantial burden that
23    is unlikely to produce meaningful benefit.
24          This Court should deny Plaintiffs’ Motion in its entirety.
25                                     BACKGROUND
26    A.    This Litigation, the Rule, and This Court’s Preliminary Injunction
27          Plaintiffs filed this lawsuit against DHS, U.S. Customs and Border Protection
28    (CBP), and CBP’s Office of Field Operations (OFO) in July 2017. The operative


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1     complaint challenges CBP’s alleged “unlawful, widespread pattern and practice of
2     denying asylum seekers access to the asylum process at [ports of entry] on the U.S.-
3     Mexico border” and CBP’s alleged “Turnback Policy.” Second Am. Compl. ¶¶ 2–3
4     (ECF No. 189). On July 29, 2019, this Court substantially denied the government’s
5     motion to dismiss the operative complaint, holding that Plaintiffs had stated claims
6     upon which relief could be granted. See Al Otro Lado, Inc. v. McAleenan, 394 F.
7     Supp. 3d 1168 (S.D. Cal. 2019).
8           On July 16, 2019, about two weeks before this Court issued its motion-to-
9     dismiss order, the Attorney General and the Acting Secretary of Homeland Security
10    promulgated the interim final rule entitled “Asylum Eligibility and Procedural Mod-
11    ifications,” 84 Fed. Reg. 33,829 (July 16, 2019) (the “rule”). With certain excep-
12    tions, the rule renders ineligible for asylum “any alien who enters, attempts to enter,
13    or arrives in the United States across the southern land border on or after July 16,
14    2019, after transiting through at least one country outside the alien’s country of cit-
15    izenship, nationality, or last lawful habitual residence en route to the United States,”
16    unless she applied for and was denied protection from persecution or torture in at
17    least one such country. 84 Fed. Reg. at 33,843.
18          There are several points in the immigration system at which the rule might be
19    applied to an alien subject to its terms. See 84 Fed. Reg. at 33,843; see also Gov’t
20    Opp’n to Pls.’ Mot. for Prelim Inj. 3–4 (Gov’t PI Opp’n; ECF No. 307). The rule
21    requires asylum officers and immigration judges to apply the bar on asylum eligibil-
22    ity when conducting and reviewing credible-fear determinations during expedited
23    removal. Id. at 33,830. This means that when an alien in expedited removal is ineli-
24    gible for asylum under the rule, the asylum officer will enter a negative credible-fear
25    determination and will then apply “the long-established reasonable-fear standard to
26    assess whether further proceedings on a possible statutory withholding or CAT pro-
27    tection claim are warranted.” Id. at 33,837. If the asylum officer makes a positive
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1     reasonable-fear determination, the alien is placed into full removal proceedings be-
2     fore an immigration judge for further consideration of the withholding or CAT
3     claims and de novo review of the applicant’s eligibility for asylum. Id.; see 8 C.F.R.
4     § 208.30(e)(5)(iii). If the asylum officer makes a negative credible- or reasonable-
5     fear determination, the alien may seek review of that determination by an immigra-
6     tion judge, who will conduct a de novo review of the asylum officer’s determination
7     that the rule bars the alien from asylum eligibility and will consider whether the alien
8     has a reasonable fear. 84 Fed. Reg. at 33,838. In full removal proceedings, immigra-
9     tion judges are also required to determine whether an asylum applicant is ineligible
10    for asylum under the rule or other mandatory bars. 8 C.F.R. §§ 1208.2(b),
11    1208.13(c).
12          On September 26, 2019, Plaintiffs sought a preliminary injunction prohibiting
13    the government from applying the rule to a provisional subclass of aliens who were
14    unable to enter the United States before July 16, 2019, because of CBP’s metering
15    policy. On November 19, 2019, this Court granted a preliminary injunction. It certi-
16    fied a provisional class of “all non-Mexican asylum-seekers who were unable to
17    make a direct asylum claim at a U.S. [port of entry] before July 16, 2019 because of
18    the U.S. Government’s metering policy, and who continue to seek access to the U.S.
19    asylum process,” and it stated: “Defendants are hereby ENJOINED from applying
20    the [rule] to members of the aforementioned provisionally certified class and OR-
21    DERED to return to the pre-[rule] practices for processing the asylum applications
22    of members of the certified class.” PI Order 36.
23          On December 4, 2019, the government appealed from the preliminary-injunc-
24    tion order. See Notice of Appeal (ECF No. 335). On December 12, the government
25    moved the Ninth Circuit for an immediate administrative stay of the injunction and
26    a stay pending appeal. See Emergency Mot. for Admin. Stay and Stay Pending Ap-
27    peal, Al Otro Lado, Inc. v. Wolf, No. 19-56417 (9th Cir. Dec. 12, 2019). On Decem-
28    ber 20, a Ninth Circuit motions panel granted the government’s motion and issued


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1     an administrative stay of the preliminary injunction pending a decision on the motion
2     for a stay pending appeal. Al Otro Lado v. Wolf, 945 F.3d 1223, 1224 (9th Cir. 2020).
3     The Ninth Circuit’s stay order remained in effect until March 5, 2020, when a mo-
4     tions panel denied the government’s request for a stay pending appeal, which termi-
5     nated the administrative stay. Al Otro Lado v. Wolf, 952 F.3d 999 (9th Cir. 2020).
6     B.    The Government’s Compliance with the Preliminary Injunction
7           DHS, CBP, ICE, USCIS, and EOIR have taken comprehensive steps to com-
8     ply with this Court’s and the Ninth Circuit’s orders.
9           USCIS. On November 24, 2019, USCIS’s Asylum Division directed asylum
10    officers to immediately begin using a series of standard questions during credible-
11    fear interviews of non-Mexican nationals to discern whether the interviewee was
12    subject to metering before July 16, 2019 (the “metering questions”); and informed
13    officers that they “cannot” apply the rule to aliens who establish that they are more
14    likely than not Al Otro Lado class members. See Ex. 1, at 7–9. Instead, the guidance
15    directed that such aliens’ claims “be assessed under the lower ‘significant possibil-
16    ity’ standard consistent with pre-[rule] procedures.” Ex. 1, at 8. USCIS also con-
17    ducted follow-up interviews with aliens who received credible-fear interviews be-
18    tween November 20 and November 26 to ask those individuals the metering ques-
19    tions and, if the aliens established that they were more likely than not Al Otro Lado
20    class members, to assess their claims under the pre-rule standard. Ex. 2, Decl. of
21    USCIS Asylum Division Deputy Chief Ashley B. Caudill-Mirillo ¶ 4. On December
22    21, USCIS issued updated guidance requiring asylum officers conducting credible-
23    fear interviews to document the metering questions and interviewee’s responses in
24    the interview notes and to orally summarize and confirm the accuracy of the inter-
25    viewee’s responses to the metering questions. See Ex. 1, at 5–6.
26          On December 29, 2019, USCIS directed asylum officers to “return to pre-
27    AOL preliminary injunction processing.” Ex. 1, at 4–5. Asylum officers ceased ask-
28    ing the metering questions in prospective cases that were pending an interview. See


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1     Ex. 1, at 4–5.
2           On March 5, 2020, the Asylum Division notified asylum personnel of the
3     Ninth Circuit’s order terminating the stay of the preliminary injunction and re-im-
4     plemented the Al Otro Lado processing guidance. See Ex. 1, at 2–4. After March 16,
5     2020, ICE began referring to USCIS for class-membership screening aliens in ICE’s
6     custody who entered the United States and were issued a negative credible-fear de-
7     termination pursuant to the rule between July 16, 2019, and March 5, 2020, without
8     being asked the metering questions and whose cases were not pending before EOIR.
9     See Ex. 1, at 2. Asylum personnel were instructed to interview these individuals us-
10    ing the metering questions and, if the interviewee was found to more likely than not
11    be an Al Otro Lado class member, to make a new credible-fear determination under
12    the pre-rule standard See Ex. 1, at 2.
13          EOIR. EOIR, a component of the U.S. Department of Justice, “adjudicate[s]
14    immigration cases by fairly, expeditiously, and uniformly interpreting and adminis-
15    tering the Nation’s immigration laws.” See https://www.justice.gov/eoir/about-of-
16    fice. EOIR is organized into the Office of the Director, the Office of the Chief Im-
17    migration Judge (OCIJ), the Board of Immigration Appeals (BIA), the Office of the
18    General Counsel (OGC), and other offices. 8 C.F.R. § 1003.0(a). Immigration
19    judges within the OCIJ adjudicate (among other things) asylum applications in reg-
20    ular removal proceedings and review USCIS’s negative credible- or reasonable-fear
21    determinations. 8 U.S.C. §§ 1225(b)(1)(B)(iii)(III), 1229a(a)(1); 8 C.F.R.
22    §§ 1003.42, 1240.1. The BIA adjudicates appeals from immigration judges’ deci-
23    sions in full removal proceedings. 8 C.F.R. §§ 1003.1(a)(1), (b), 1003.10(c).
24          By regulation, “immigration judges shall exercise their independent judgment
25    and discretion” when deciding the individual cases before them. Id. § 1003.10(b).
26    Other than members of the BIA acting on a lawful appeal from or certification of the
27    decision of an immigration judge, see id. §§ 1003.1(b), 1003.1(c), and in limited
28    circumstances the Director, no employee at EOIR possesses the authority to direct


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1     the result of an individual case assigned to an immigration judge, id. §§ 1003.0(c),
2     (e)(2), (f), 1003.9(c).
3            EOIR is not a party to this litigation. Nevertheless, it has voluntarily agreed
4     to act consistently with the preliminary injunction and has issued legal guidance to
5     OCIJ and BIA leadership and staff at each relevant stage, including shortly after the
6     preliminary injunction was issued; shortly after the December 20, 2019 order staying
7     the preliminary injunction; and shortly after the March 5, 2020 order terminating the
8     stay of the preliminary injunction. See Ex. 3, Decl. of EOIR General Counsel Jill W.
9     Anderson ¶¶ 4–6. EOIR OGC has also issued targeted supplemental legal guidance
10    on May 7, June 3, and July 29, 2020, to address alleged instances of non-compliance
11    with the injunction. EOIR asserts the attorney-client privilege over this legal guid-
12    ance. See Ex. 4 ¶¶ 7–9.
13           ICE. ICE is a DHS component agency responsible for implementing the Sec-
14    retary’s immigration detention and removal responsibilities, among other duties. See
15    6 U.S.C. §§ 202(3), 251. ICE’s Enforcement and Removal Operations (ERO) is re-
16    sponsible for detaining inadmissible and deportable aliens and removing aliens with
17    final removal orders from the United States. Id. § 251. ICE’s Office of the Principal
18    Legal Advisor (OPLA) represents the government in removal proceedings before
19    immigration judges and the BIA. See id. § 252(c); Reorganization Plan Modification
20    for the Dept. of Homeland Security, H. Doc. No. 108-32, 108th Cong., at 3 (2003).
21    ICE does not conduct credible-fear interviews or adjudicate asylum applications and
22    therefore is not charged with applying the rule.
23           On December 5, 2019, ICE OPLA issued legal guidance regarding the pre-
24    liminary injunction to OPLA attorneys and personnel. See Ex. 4, Decl. of ICE Dep-
25    uty Principal Legal Advisor for Enforcement and Litigation Adam V. Loiacono ¶ 7.
26    On December 8, ICE ERO suspended the removal of aliens in custody who received
27    a negative credible-fear determination pursuant to the rule between July 16, 2019,
28    and November 19, 2019, and whose cases were not pending before EOIR, and began


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1     referring those aliens to USCIS to be screened for Al Otro Lado class membership.
2     See Ex. 5, at 2. On December 31, ICE OPLA issued legal guidance regarding the
3     preliminary injunction to OPLA attorneys and personnel. See Ex. 4 ¶ 9. On March
4     6, 2020, following the order terminating the stay of the preliminary injunction, ICE
5     OPLA issued legal guidance regarding the preliminary injunction to OPLA attorneys
6     and personnel. See Ex. 4 ¶ 10. On March 16, ICE ERO suspended the removal of
7     detained aliens who received a negative credible-fear determination pursuant to the
8     rule between July 16, 2019, and March 6, 2020, and whose cases were not pending
9     before EOIR, and began referring those detained aliens whose negative credible-fear
10    determination had been affirmed by an immigration judge to USCIS for Al Otro
11    Lado class-membership screening. See Ex. 6, at 2–3.
12           CBP. CBP is a DHS component agency tasked with securing the United
13    States’ borders and facilitating lawful travel and trade. See 6 U.S.C. § 211(c). CBP
14    does not conduct credible-fear interviews or adjudicate asylum applications and thus
15    does not have occasion to apply the rule. Following the issuance of the preliminary
16    injunction, U.S. Border Patrol and OFO issued guidance instructing agents and of-
17    ficers to annotate the Form I-213, Record of Deportable/Inadmissible Alien, when
18    they encounter an individual who affirmatively claims to be a class member. See Ex.
19    7, Decl. of CBP STAT Division Director Jay Visconti ¶ 5. OFO also updated its
20    electronic records system to include an equivalent annotation in the electronic sys-
21    tem itself. Ex. 7 ¶ 6.
22    C.     Plaintiffs’ Allegations of Non-Compliance
23           The provisional class is estimated to include more than 26,000 aliens. See PI
24    Order 22. After engaging in “extensive” efforts to monitor the government’s com-
25    pliance with the injunction, Decl. of Alexander J. Halaska ¶ 2, Plaintiffs identify
26    only six alleged violations. None of the cases involves an existing asylum denial
27    issued pursuant to the rule that became final while the injunction was in effect.
28           A.N.A. On September 24, 2019, before the preliminary injunction was issued,


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1     Immigration Judge Fitting of the Tacoma, Washington immigration court granted
2     A.N.A.’s application for withholding of removal and denied her application for asy-
3     lum pursuant to the rule. See Ex. 8, at 3. A.N.A. waived appeal, making the decision
4     final. See Ex. 8, at 4; 8 C.F.R. § 1003.39 (immigration judge’s decision is final “upon
5     waiver of appeal or upon expiration of the time to appeal if no appeal is taken”). On
6     May 1, 2020, A.N.A. filed a motion to reopen in immigration court in light of the
7     Ninth Circuit’s March 5 order terminating its stay of the preliminary injunction. See
8     Ex, 8, at 3. On May 5, the immigration judge denied the motion and declined to
9     reopen A.N.A.’s proceedings. See Ex. 8, at 3–5. On May 11, following the dissemi-
10    nation of EOIR OGC’s May 7 supplemental guidance, the immigration judge sua
11    sponte reopened A.N.A.’s proceedings and granted her asylum. See Ex. 9, at 3–4.
12          E.T.M. On October 1, 2019, before the preliminary injunction was issued,
13    Immigration Judge Fitting granted E.T.M.’s application for withholding of removal
14    and denied her application for asylum pursuant to the rule. See Ex. 10, at 3. E.T.M.
15    waived appeal, making the immigration judge’s decision final. See Ex. 10, at 4;
16    8 C.F.R. § 1003.39. On May 4, 2020, E.T.M. filed a motion to reopen in immigration
17    court in light of the Ninth Circuit’s March 5 order. See Ex. 10, at 3. On May 5, the
18    immigration judge denied the motion and declined to reopen E.T.M.’s proceedings.
19    See Ex. 10, at 3–5. On May 11, following the dissemination of EOIR OGC’s May 7
20    guidance, the immigration judge sua sponte reopened E.T.M.’s proceedings and
21    granted her asylum. See Ex. 11, at 3–4.
22          M.M.M. On January 24, 2020, while the preliminary injunction was stayed,
23    an immigration judge in the LaSalle, Louisiana immigration court granted M.M.M.’s
24    application for withholding of removal and denied his application for asylum pursu-
25    ant to the rule. See Ex. 12, at 3–4. On June 16, 2020, after the immigration judge’s
26    decision was final, see 8 C.F.R. § 1003.39, M.M.M. filed a motion to reopen in im-
27    migration court in light of the Ninth Circuit’s March 5 order. See Ex. 12, at 4. On
28    June 30, Immigration Judge Munson denied the motion as untimely and declined to


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1     reopen M.M.M.’s proceedings. See Ex. 12, at 3–6.
2           R.N. On January 28, 2020, while the preliminary injunction was stayed, Im-
3     migration Judge Floyd of the Tacoma immigration court granted R.N.’s application
4     for withholding of removal and denied his application for asylum pursuant to the
5     rule. See Ex. 13, at 3. R.N. waived appeal, making the immigration judge’s decision
6     final. See Ex. 13, at 4; 8 C.F.R. § 1003.39. On April 27, R.N. filed a motion to reopen
7     in immigration court in light of the Ninth Circuit’s March 5 order. See Ex. 13, at 3.
8     On May 5, the immigration judge denied the motion and declined to reopen R.N.’s
9     proceedings. See Ex. 13, at 3–5. On May 20, following the dissemination of EOIR’s
10    May 7 guidance, the immigration judge sua sponte reopened R.N.’s proceedings and
11    granted him asylum. See Ex. 14, at 3–4.
12          F.S.S. On February 13, 2020, while the preliminary injunction was stayed,
13    Immigration Judge Fitting, sitting in the Adelanto, California immigration court,
14    granted F.S.S.’s application for withholding of removal and denied her application
15    for asylum pursuant to the rule. See Ex. 15, at 2–10. On March 6, F.S.S. filed a
16    motion to reconsider in immigration court in light of the Ninth Circuit’s March 5
17    order. See Ex. 16, at 3. On March 13, before the immigration judge ruled on the
18    motion, F.S.S. appealed the asylum denial to the BIA and moved the BIA to remand
19    the appeal to the immigration court for adjudication of the motion to reconsider. See
20    Ex. 17. On March 17, the immigration judge denied the motion to reconsider. See
21    Gov’t Ex. 16, at 3–5. On April 13, F.S.S. appealed the denial of the motion to recon-
22    sider to the BIA. See Ex. 18. F.S.S.’s direct appeal and the appeal from the denial of
23    the motion to reopen remain pending before the BIA.
24          M.T.A. On April 21, 2020, Immigration Judge Baker of the Las Vegas, Ne-
25    vada immigration court granted M.T.A.’s application for withholding of removal
26    and denied her application for asylum pursuant to the rule. See Ex 19, at 2. M.T.A.
27    did not appeal, making the immigration judge’s decision final. See Ex 19, at 2;
28    8 C.F.R. § 1003.39. On May 21, M.T.A. filed a motion to reopen, arguing that she


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1     was an Al Otro Lado class member. See Ex 19, at 2. DHS did not immediately re-
2     spond to the motion, and on June 3, the immigration judge reopened M.T.A.’s pro-
3     ceedings and granted asylum. See Ex 19, at 2. On June 10 and 11, 2020, DHS filed
4     a motion to reopen and reconsider the asylum grant based on the authenticity of
5     M.T.A.’s documentary evidence. See Ex. 20; Ex. 21. DHS explained that its brief
6     was untimely because of an inadvertent administrative oversight. See Ex. 20, at 3.
7     On June 15, the immigration judge vacated his June 3 decision and denied M.T.A.’s
8     application for asylum, holding that the evidence was “insufficient to support reo-
9     pening.” Ex. 22, at 4. On July 8, 2020, the immigration judge sua sponte reopened
10    M.T.A.’s proceedings and granted asylum, citing the Ninth Circuit’s July 6 decision
11    in East Bay Sanctuary Covenant v. Barr, 964 F.3d 382 (9th Cir. 2020). See Ex. 23,
12    at 3.
13            Plaintiffs contend that these cases are violations of the injunction because the
14    individuals “affirmatively raised their entitlement to the injunction’s protection, only
15    to be improperly rejected.” Mot. 2.
16                                          ARGUMENT
17    I.      This Court Should Reject Plaintiffs’ Request to “Clarify” the Injunction.
18            Plaintiffs contend that it is “‘necessary’” for this Court to “[c]larif[y]” that the
19    Ninth Circuit’s order “[l]ifting the administrative stay of the preliminary injunction
20    warrants reopening or reconsidering past determinations regarding class members’
21    asylum eligibility” because “‘the Parties have different understandings of the scope
22    of the Injunction.’” Mot. 12 (quoting Zeetogroup, LLC. v. Fiorentino, No. 19-cv-
23    458, 2020 WL 886866, at *2 (S.D. Cal. Feb. 24, 2020)); see also id. at 12–13. No
24    clarification is warranted because this Court’s and the Ninth Circuit’s orders are
25    clear, and the government is complying with the orders.
26            A.    This Court’s and the Ninth Circuit’s Orders Are Clear.
27            There is no need for this Court to “clarify” the terms of the preliminary in-
28    junction because this Court’s and the Ninth Circuit’s orders are clear. “While the


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1     Court has discretion to give clarification of its injunctions, and should provide clar-
2     ification of any ambiguous language that could cause unwitting contempts, such
3     clarification is unnecessary” when “the preliminary injunction is clear.” Cornucopia
4     Products, LLC v. Dyson, Inc., No. 12-cv-0234, 2013 WL 12098786, at *2 (D. Ariz.
5     June 20, 2013); see Regal Knitwear Co. v. NLRB, 324 U.S. 9, 15 (1945) (clarification
6     is within a court’s “sound discretion”).
7           This Court’s November 19, 2019 order states: “Defendants are hereby EN-
8     JOINED from applying the [rule] to members of the ... provisionally certified class
9     and ORDERED to return to the pre-[rule] practices for processing the asylum ap-
10    plications of members of the certified class.” PI Order 36. “Defendants” are DHS,
11    CBP, and OFO. “Hereby” means “by this, or the present, declaration, action, docu-
12    ment, etc.; by means of this; as a result of this.” See https://www.dictionary.com/
13    browse/hereby (accessed July 22, 2020). “Are ... enjoined” is a predicate phrase that
14    declares that Defendants are enjoined, or “legally prohibit[ed].” Enjoin, Black’s Law
15    Dictionary (11th ed. 2019). “From applying the [rule] to members of the ... provi-
16    sionally certified class” is a prepositional phrase that states what Defendants are pro-
17    hibited from doing to whom: “applying the [rule]” to class members. PI Order 36.
18    And, as explained, the rule can be “applied” in immigration proceedings at the cred-
19    ible-fear screening stage, during the review of a negative credible- or reasonable-
20    fear determination, during full removal proceedings before immigration judges, and
21    during the appeal of an immigration judge’s decision to the BIA. See supra at pp. 3–
22    4; Gov’t PI Opp’n 3–4. So the order is clear: DHS, CBP, and OFO cannot apply the
23    rule to non-Mexican nationals who were unable to enter the United States before
24    July 16, 2019, because of metering. Instead, Defendants must “return to the pre-
25    [rule] practices” during credible-fear screening, during reviews of negative credible-
26    fear determinations, during full removal proceedings before immigration judges, and
27    on appeal to the BIA.
28          Consistent with a preliminary injunction’s “purpose ... to preserve the relative


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1     positions of the parties,” University of Texas v. Camenisch, 451 U.S. 390, 395
2     (1981), and prevent irreparable injury, the order’s language is prospective only. It
3     states that “Defendants are hereby enjoined from applying the [rule]” and “ordered
4     to return to the pre-[rule] practices.” PI Order 36 (emphases altered). It does not
5     order Defendants to reopen final asylum denials that were already lawfully issued
6     pursuant to the rule. The order covers “all” class members, but the government can-
7     not refrain “from applying” a rule to a class member who is not before it. If, however,
8     a class member who was lawfully denied asylum pursuant to the rule before the
9     injunction was issued later files a motion to reopen or reconsider after the injunction
10    was issued, and the government grants the motion and reopens the proceedings such
11    that decision is no longer final, the government must not “apply” the rule to the class
12    member again. The class member is entitled to have her claim adjudicated under “the
13    pre-[rule] practices.” But there is no action that the injunctive order requires the gov-
14    ernment to take with respect to aliens who were issued lawful, final asylum denials
15    pursuant to the rule before the injunction issued. Those class members had the rule
16    applied to them, but the government is no longer “applying” it to them in violation
17    of the injunction. PI Order 36. Indeed, it would be “difficult to conclude such retro-
18    spective relief is necessary to prevent an irreparable injury” there, “since the [pur-
19    ported] injury ... has already occurred.” Westar Energy, Inc. v. Lake, 552 F.3d 1215,
20    1225 (10th Cir. 2009).
21          Similarly, the Ninth Circuit’s termination of the administrative stay does not
22    require the government to affirmatively reopen and readjudicate asylum denials that
23    became final while the injunction was stayed. The Ninth Circuit’s order contains no
24    such language. See Al Otro Lado, 952 F.3d 999. And that interpretation would be
25    inconsistent with the stay order’s purpose to “preserve the status quo.” Al Otro Lado,
26    945 F.3d at 1224. “[A] stay operates upon the judicial proceeding itself. It does so ...
27    by temporarily divesting an order of enforceability.” Nken v. Holder, 556 U.S. 418,
28    428 (2009). The motions panel knew that the government would apply the rule to


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1     class members under the status quo ante if it issued a stay, and it was aware of Plain-
2     tiffs’ contention that a stay would result in “irreparable harm.” Appellees’ Opp’n to
3     Appellants’ Mot. for an Admin. Stay, at 4, Al Otro Lado, Inc. v. Wolf, No. 19-56417
4     (9th Cir. Dec. 13, 2019). But it issued the stay order anyway and “suspend[ed]” this
5     Court’s “alteration of the status quo.” Nken, 556 U.S. at 429 (internal quotation
6     marks omitted). When the stay order terminated, the preliminary injunction was re-
7     stored and altered the status quo in the same way it did before: By the termination
8     of the stay, “Defendants are hereby enjoined” from applying the rule to class mem-
9     bers. PI Order 36 (emphases altered). The preliminary injunction does not require
10    retrospective adjudication of final asylum denials, so the termination of the stay does
11    not require it, either.
12           Plaintiffs’ arguments in support of their contention that the order “[l]ifting the
13    administrative stay ... warrants reopening or reconsidering past determinations re-
14    garding class members’ asylum eligibility,” Mot. 12, are flawed.
15           First, Plaintiffs contend that the preliminary injunction “mandates both pro-
16    spective relief—by ordering Defendants to ‘return to pre-[rule] practices for pro-
17    cessing the asylum applications’ of class members—and retroactive relief—by en-
18    joining Defendants ‘from applying the [rule]’ to class members.” Mot. 3 (quoting PI
19    Order 36). Similarly, Plaintiffs contend that “[t]he preliminary injunction prohibits
20    Defendants from applying the Asylum Ban to ‘all non-Mexican asylum seekers who
21    were unable to make a direct asylum claim’ at a port of entry before July 16, 2019
22    ‘because of the U.S. Government’s metering policy, and who continue to seek access
23    to the U.S. asylum process.’ The injunction’s language is not limited to certain stages
24    of removal proceedings.” Mot. 12 (quoting PI Order 36; emphasis in Mot.). But as
25    explained, the injunctive order states that “Defendants are” enjoined from applying
26    the rule. (Emphasis added.) The language is prospective only, and it can bind De-
27    fendants only when the injunction is in effect. Contrary to Plaintiffs’ suggestion, the
28


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1     phrase “‘from applying the [rule]’ to class members” says what Defendants are pro-
2     hibited from doing, not that they must undo things already lawfully done. The in-
3     junction by its terms does not require the government to affirmatively reopen and
4     readjudicate rule-based asylum denials that became final before the preliminary in-
5     junction was issued or while it was stayed. And Plaintiffs’ argument is inconsistent
6     with settled principles of retroactivity: When a court announces a precedential rule
7     of law, that rule “is the controlling interpretation of federal law and must be given
8     full retroactive effect in all cases still open on direct review.” Harper v. Va. Dept. of
9     Taxation, 509 U.S. 86, 97 (1993) (emphasis added). Cases that are final and closed
10    are not entitled to be reopened and readjudicated under later-announced rules. See
11    Teague v. Lane, 489 U.S. 288, 308 (1989) (“[I]t has long been established that a final
12    civil judgment entered under a given rule of law may withstand subsequent judicial
13    change in that rule.”).
14          Second, Plaintiffs contend that Defendants’ reading of the injunction would
15    “arbitrarily limit[]” class members’ relief. Mot. 12. But a preliminary injunction that
16    grants only prospective relief is not for that reason arbitrary. That is perfectly con-
17    sistent with “[t]he purpose of a preliminary injunction ... merely to preserve the rel-
18    ative positions of the parties until a trial on the merits can be held.” Camenisch, 451
19    U.S. at 395; see also JIPC Mgmt., Inc. v. Incredible Pizza Co., Inc., 08-cv-4310,
20    2008 WL 11336396, at *25 (C.D. Cal. Aug. 26, 2008) (“‘Irreparable harm,’ for pur-
21    poses of obtaining preliminary injunctive relief, is harm ‘that cannot be redressed by
22    legal or equitable remedy following trial.’” (quoting Optinrealbig.com, LLC v.
23    Ironport Systems, Inc., 323 F. Supp. 2d 1037, 1050 (N.D. Cal. 2004))).
24          Third, Plaintiffs argue that “Defendants’ position presumes that class mem-
25    bers are aware of the preliminary injunction and also aware of the entire administra-
26    tive process and can access it.” Mot. 12. But class members’ awareness of the in-
27    junction is immaterial because the government is complying with the order’s clear
28


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1     terms. See infra. Rule 23(b)(2) “does not require that class members be given no-
2     tice ... presumably because it is thought (rightly or wrongly) that notice has no pur-
3     pose when the class is mandatory.” Wal-Mart Stores, Inc., 564 U.S. at 363.
4            As the preliminary injunction is clear, the Court should reject Plaintiffs’ re-
5     quest for clarification.1
6            B.     The Government is Complying With This Court’s and the Ninth
7                   Circuit’s Orders.
             Plaintiffs also argue that “clarification” is necessary because the government
8
      purportedly is not complying with the injunction. See Mot. 6–8; 12–13. That is in-
9
      correct. The government (including EOIR) is complying with the order’s clear terms.
10
             On November 24, 2019, USCIS Asylum Division headquarters directed asy-
11
      lum officers to immediately begin asking a series of questions for all new credible-
12
      fear cases involving non-Mexican nationals to ascertain whether the interviewee was
13
      subject to metering or queue management before July 16, 2019. Ex. 1, at 7–9. When
14
      an alien’s responses established that she was more likely than not an Al Otro Lado
15
      class member, USCIS directed its officials not to apply the rule and instead to con-
16
      sider the fear claim under the “significant possibility” standard for credible-fear
17
      cases used before the rule was promulgated. See Ex. 1, at 7–9. On November 26, to
18
      account for possible applications of the rule immediately following the injunction
19
      but before the dissemination of the November 24 guidance, USCIS paused service
20
      of credible-fear decisions in cases where a credible-fear interview was conducted on
21
      or after November 20, 2019, but the decision had not yet been served. Ex. 2 ¶ 4. In
22
      cases where the asylum officer was going to apply the rule, the officer conducted a
23
      follow-up interview using the metering questions to determine whether the alien was
24
25
26    1
        To the extent Plaintiffs seek a modification of the preliminary injunction, the Court
27    is not empowered to make substantive modifications while the government’s appeal
28    is pending. Townley v. Miller, 693 F.3d 1041, 1042 (9th Cir. 2012) (filing of notice
      of appeal divested the district court of jurisdiction over preliminary injunction).

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1     an Al Otro Lado class member. Ex. 2 ¶ 4. If her responses to the questions estab-
2     lished that she more likely than not met the class definition, USCIS assessed the
3     claim under the pre-rule standard. See Ex. 2 ¶ 4.
4              On December 8, 2019, ICE suspended the removal of aliens in its custody
5     who were issued negative credible-fear determinations by USCIS pursuant to the
6     rule between July 16 and November 19, 2019, and whose cases were not pending
7     before EOIR, and referred those aliens to USCIS to be screened for class member-
8     ship. See Ex. 5, at 2. Together, USCIS’s and ICE’s guidance would have covered all
9     detained class members to whom the government had occasion to apply the rule in
10    credible-fear/expedited-removal proceedings and whose cases were not pending be-
11    fore an immigration judge on or after November 19, 2019, and ensured that such
12    class members’ claims were adjudicated under the pre-rule standard.
13             As to individuals whose cases were pending before immigration judges, on
14    November 22, 2019, consistent with its agreement to comply with the preliminary
15    injunction, EOIR OGC issued legal guidance to its clients the OCIJ and the BIA
16    relating to the injunction, which was disseminated to immigration judges and Board
17    members and their staffs. Ex. 3 ¶ 4. Plaintiffs offer no concrete allegations of situa-
18    tions where immigration judges directly applied the rule to class members in regular
19    removal proceedings immediately following the issuance of the preliminary injunc-
20    tion.2
21
22
      2
23      Plaintiffs assert in a footnote that “an immigration judge in Laredo ... repeatedly
      applied the [rule] to class members and denied asylum in December 2019, prior to
24    the Ninth Circuit’s administrative stay.” Mot. 2 n. 2. Based on this, they speculate
25    that “there are many additional instances of noncompliance that simply have not
      been brought directly to the attention of Plaintiffs’ counsel.” Id. Given the dearth of
26
      detail in Plaintiffs’ allegation and their failure to meet and confer on this issue, De-
27    fendants are unable to respond to Plaintiffs’ characterization. Regardless, the gov-
28    ernment will take appropriate steps if instances of non-compliance are specifically
      identified.

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1           Following the Ninth Circuit’s December 20, 2019 order staying the prelimi-
2     nary injunction, the government returned to regular credible-fear and asylum pro-
3     cessing under the rule and operated under that guidance for the duration of the stay.
4     As explained, applications of the rule during the pendency of the stay were lawful.
5     See supra at Part I.A.
6           After the Ninth Circuit’s stay terminated on March 5, 2020, the government
7     re-implemented its preliminary-injunction processing guidance. On March 5, USCIS
8     informed asylum officers of the stay’s termination and re-implemented the Al Otro
9     Lado processing guidance “[e]ffective immediately.” Ex. 1, at 2–4. On March 5 and
10    6, EOIR OGC issued guidance regarding the preliminary injunction to the OCIJ and
11    the BIA, Ex. 3 ¶ 6. On March 16, ICE identified and suspended the removal of aliens
12    in its custody who entered the United States between July 16, 2019, and March 5,
13    2020, and received a rule-based negative credible-fear determination from USCIS,
14    and whose cases were not pending before EOIR, and began referring those aliens to
15    USCIS for class-membership screening. See Ex. 6, at 2–3. Together, USCIS’s,
16    EOIR’s, and ICE’s actions would have covered all detained class members to whom
17    the government has occasion to apply the rule in credible-fear or full removal pro-
18    ceedings on or after March 5, 2020, and ensure that such class members’ claims are
19    assessed under the pre-rule standards. Plaintiffs have never alleged that DHS has
20    improperly applied the rule in credible-fear/expedited removal proceedings.
21          Plaintiffs claim to have identified “repeated and continuing violations of the
22    preliminary injunction.” Mot. 11. But the six cases they identify are not violations.
23    First, A.N.A., E.T.M., M.M.M., R.N., and F.S.S. were denied asylum pursuant to
24    the rule before this Court issued the injunction or while the injunction was stayed.
25    See Ex. 9, at 3 (noting A.N.A.’s Sept. 24, 2019 asylum denial); Ex. 11, at 3 (noting
26    E.T.M.’s Oct. 1, 2019 asylum denial); Ex. 12 at 3–4 (noting M.M.M.’s Jan. 24, 2020
27    asylum denial); Ex. 14, at 3 (noting R.N.’s Jan. 28, 2020 asylum denial); Ex. 15, at
28    10 (F.S.S.’s Feb. 13, 2020 asylum denial). Those orders do not violate the injunction


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1     because the injunction was not in effect at those times. And certainly, they do not
2     evidence class-wide non-compliance. Cf. Order re: Mot. for Determination of Dis-
3     covery Dispute 7 (ECF No. 506) (“The Court disagrees, however, that plaintiffs have
4     identified evidence of noncompliance [referring to three decisions by one immigra-
5     tion judge] which ‘raise[s] legitimate questions’ regarding defendants’ efforts to
6     abide by the Injunction, such that they are entitled to the discovery they seek.”).
7           Second, the subsequent denials of A.N.A.’s, E.T.M.’s, M.M.M.’s, and R.N.’s
8     motions to reopen are not violations because their asylum denials were final by the
9     time they filed their motions. See 8 C.F.R. § 1003.39. The rule had already been
10    lawfully applied, and the denial of a motion to reopen a final decision does not con-
11    stitute a new, impermissible “appl[ication]” of the rule. See Harper, 509 U.S. at 97;
12    Teague, 489 U.S. at 308.
13          Third, there is no violation in F.S.S.’s case because her removal proceedings
14    are still open before the BIA. See Ex. 17; Ex. 18. She does not have a final asylum
15    denial, and because her proceedings are open, her asylum application is subject to
16    the terms of the injunction. See Ex. 3 ¶ 4.
17          Finally, there is presently no violation in M.T.A.’s case. Although an immi-
18    gration judge in the Las Vegas immigration court denied asylum to M.T.A. pursuant
19    to the rule while the injunction was in effect, see Ex. 22, at 4, the immigration judge
20    reopened M.T.A.’s proceedings on July 9, 2020, and granted her asylum, see Ex. 23,
21    at 3. Thus, Plaintiffs identify no violations of this Court’s injunction. There is no
22    need for clarification.
23    II.   The Preliminary Injunction is Not Directed at EOIR, and EOIR Is Not
24          Bound by it.
            Plaintiffs ask this Court to “clarify” that “EOIR is bound by the preliminary
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      injunction,” arguing that such an order is compelled by Federal Rule of Civil Proce-
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      dure 65(d)(2). Mot. 13; see also id. at 13–15. But EOIR is complying with the in-
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1     junction, so Plaintiffs’ request is unnecessary. In any event, Plaintiffs offer no evi-
2     dence or authority suggesting that EOIR is bound by the preliminary injunction un-
3     der Rule 65. Plaintiffs instead contend that EOIR is bound under Rule 65(d)(2) be-
4     cause Defendants purportedly “have admitted that EOIR officers work with DHS to
5     implement the preliminary injunction,” Mot. 13 (citing Lev Decl. ¶ 4); because a
6     leaked version of an attorney-client privileged communication from EOIR’s Office
7     of General Counsel says that “‘under F.R.C.P. 65(d)(2), the [preliminary-injunction]
8     order arguably binds EOIR as a participant with DHS in determining asylum eligi-
9     bility for class members,’” Mot. 14 (quoting from a Google Doc tweeted by a jour-
10    nalist); and because the government on appeal characterized the preliminary injunc-
11    tion as “‘enjoin[ing] immigration judges or the Board of Immigration Appeals.’”
12    Mot. 14 (quoting the government’s opening brief). These purported “admissions”
13    either did not occur or do not actually bring EOIR within the scope of Rule 65(d).
14          First, it is not necessary for this Court to “clarify” that EOIR is bound by the
15    injunction. EOIR has voluntarily agreed to abide by the order’s terms, Ex. 3 ¶ 4, it
16    has taken steps to do so, Ex. 3 ¶¶ 5–9, and as explained above there are no violations
17    that warrant clarification, see supra at Part I.B.
18          Second, Plaintiffs claim that Defendants “admitted that EOIR officers work
19    with DHS to implement the preliminary injunction.” Mot. 13 (citing Lev Decl. ¶ 4).
20    Not so. Plaintiffs’ counsel’s declaration accurately states the government’s position:
21    “EOIR has agreed to comply with the PI and its position is also that the PI is currently
22    in effect and that IJs and Board Members are not to apply the third-country transit
23    rule to provisional class members.” Lev. Decl. ¶ 4 (internal alterations omitted). Fur-
24    ther, the Court should not take into consideration a leaked legal guidance document
25    over which EOIR asserts the attorney-client privilege and which was disclosed with-
26    out EOIR’s authorization. Ex. 3 ¶ 4 & n.1; see Resolution Trust Corp. v. Dean, 813
27    F. Supp. 1426, 1428–30 (D. Ariz. 1993) (no waiver of attorney-client privilege over
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1     government’s internal “authority to sue” memorandum obtained by news organiza-
2     tion without authorization). But even if the Court were to consider the statements
3     being attributed to EOIR OGC, the statement that Rule 65(d)(2) “‘arguably’” binds
4     EOIR is not, in fact, an admission. Mot. 14 (emphasis added). Further, EOIR should
5     not be faulted for making a good-faith effort to abide by this Court’s order.
6           Third, EOIR as a matter of law does not “work with” DHS in removal pro-
7     ceedings, Mot. 13, and is not “in active concert or participation” with it, Fed. R. Civ.
8     P. 65(d)(2). “An injunction binds a non-party only if it has actual notice and either
9     ‘abets the enjoined party’ in violating the injunction or is ‘legally identified’ with
10    the enjoined party.” CFPB v. Howard Law, P.C., 671 F. App’x 954, 955 (9th Cir.
11    2016) (citing United States v. Baker, 641 F.2d 1311, 1313 (9th Cir. 1981), and NLRB
12    v. Sequoia Dist. Council of Carpenters, AFL-CIO, 568 F.2d 628, 633 (9th Cir. 1977);
13    alterations omitted). Whether a third party is bound turns on its “relation [with] the
14    defendant.” Regal Knitwear Co., 324 U.S. at 15.
15          EOIR does not abet DHS, nor is it legally identified with DHS, in applying
16    the rule. USCIS has occasion to apply the rule during credible-fear screenings, the
17    purpose of which is “to elicit all relevant and useful information bearing on whether
18    the applicant has a credible fear of persecution or torture.” 8 C.F.R. § 208.30(d). And
19    although ICE trial attorneys are present at removal hearings, they are advocates who
20    “represent [DHS] in all exclusion, deportation, and removal proceedings before
21    [EOIR],” including appeals to the BIA. 6 U.S.C. § 252(c). EOIR, in contrast, has
22    occasion to “apply” the rule when immigration judges conduct a de novo review a
23    USCIS asylum officer’s negative credible-fear determination, see 8 U.S.C.
24    § 1225(b)(1)(B)(iii)(III), 8 C.F.R. §§ 1003.42, 1208.30(g); when immigration
25    judges adjudicate asylum claims in full removal proceedings, see 8 U.S.C.
26    § 1229a(c)(4), 8 C.F.R. § 1208.2(b); or when the BIA adjudicates an appeal from an
27    immigration judge’s order denying asylum, see 8 C.F.R. § 1003.1(b). The immigra-
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1     tion judges are independent administrative judges who “shall exercise their inde-
2     pendent judgment and discretion” when deciding cases and “shall seek to resolve
3     the questions before them in a timely and impartial manner consistent with the
4     [INA] and regulations.” Id. § 1003.10(b) (emphases added). EOIR adjudicators do
5     not work “in active concert or participation” with DHS any more than appellate
6     courts work with trial courts or judges work with prosecutors.
7             Fourth, EOIR cannot be bound by the injunction simply because the govern-
8     ment on appeal characterized the order as “‘enjoin[ing] immigration judges or the
9     Board of Immigration Appeals.’” Mot. 14 (quoting the government’s opening brief).
10    The preliminary injunction applies to “Defendants.” PI Order 36. A party cannot
11    change the plain language of the order through its briefs.
12            Fifth, and in any event, Plaintiffs’ attempt to “clarify” that EOIR is bound by
13    the injunction underscores that the injunction Plaintiffs seek is prohibited by
14    8 U.S.C. § 1252(f)(1). See Gov’t PI Opp’n 7–8. Section 1252(f)(1) states: “no
15    court ... shall have jurisdiction or authority to enjoin or restrain the operation of”
16    8 U.S.C. §§ 1221–32 “other than with respect to the application of such provisions
17    to an individual alien against whom proceedings under such part have been initi-
18    ated.” See also Reno v. Am.-Arab Anti-Discrimination Comm., 525 U.S. 471, 481–
19    82 (1999). By seeking to “clarify” that the injunction applies to EOIR, Plaintiffs
20    confirm that they seek to prohibit immigration judges from holding an alien to her
21    statutory burden to “establish that [she] satisfies the applicable eligibility require-
22    ments” and “merits a favorable exercise of discretion” in removal proceedings.
23    8 U.S.C. § 1229a(c)(4). Such a class-wide injunction that “create[s] out of thin air a
24    requirement ... that does not exist in the statute” restrains the operation of the statute
25    and is therefore prohibited by § 1252(f)(1). Hamama v. Adducci, 912 F.3d 869, 879
26    (6th Cir. 2018). EOIR is not bound by the injunction under Rule 65(d) or otherwise.3
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      3
28        Plaintiffs contend in a footnote that, “[s]eparate and apart from Rule 65, the All


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1     III.   There is No Basis Under Rule 23(d) to Order the Government to Identify
2            Class Members.
             Plaintiffs ask this Court to order the government under Federal Rule of Civil
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      Procedure 23(d) to comprehensively identify “all provisional class members” and
4
      “inform identified class members, including those already removed from the United
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      States, of their potential class membership and the existence and import of the pre-
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      liminary injunction.” Mot. 15, 18. The Court should reject this request.
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             First, Plaintiffs fail to show that this request is necessary. The government
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      explained in its preliminary-injunction and class-certification briefing that there is
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      no reliable, comprehensive way to identify class members and that attempts to do so
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      would be substantially burdensome. See Gov’t PI Opp’n 22; Gov’t Opp’n to Pls.’
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      Mot. for Class Certification 24–25 (ECF No. 308). Based on those arguments, this
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      Court held that “individuals could be required to submit proof (either by list or dec-
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      laration) that he or she is a member of the class in order to get the relief sought.” PI
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      Order 28. The government reasonably has been using that method of identifying
15
      class members in proceedings, and Plaintiffs offer no evidence that it is not working.
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      Even in the cases of alleged non-compliance that Plaintiffs identify, the respondents
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      were able to present evidence that they were subject to metering during the relevant
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      time period. See, e.g., Ex. 8, at 3 (“On September 24, 2019, the court granted re-
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      spondent’s ... application for withholding of removal ... but denied her application
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      for asylum because she was ‘metered’ at the southern land border of the United
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      States and subject to the safe third country bar ... .”). Thus, there is no need to order
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      the government to develop a comprehensive list of class members when it would
23
24
25    Writs Act ... also authorizes the court to issue injunctions binding on non-parties.”
      Mot. 15 n.8. That could be true only if the injunction itself were proper, which the
26
      government respectfully contends it was not. See United States v. N.Y. Tel. Co., 434
27    U.S. 159, 168–69, 172 (1977) (affirming All Writs Act injunction directing third-
28    party telephone company to assist the FBI to implement a search warrant in part
      because the warrant itself was proper under Federal Rule of Criminal Procedure 41).

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1     impose a substantial burden and is unlikely to generate any meaningful additional
2     benefit.
3             Second, even if identifying and notifying class members were warranted,
4     Plaintiffs fail to overcome the “general rule” that “the representative plaintiff should
5     perform” the “particular tasks necessary to send the class notice.” Oppenheimer
6     Fund, Inc., 437 U.S. at 356; see also Barahona-Gomez v. Reno, 167 F.3d 1228,
7     1236–37 (9th Cir. 1999) (extending this rule to a Rule 23(b)(2) class action).
8             This Court has discretion to order Defendants to perform notice-related tasks
9     if Defendants are able to perform such tasks “with less difficulty or expense than
10    could the representative plaintiff.” Oppenheimer Fund, Inc., 437 U.S. at 356. Plain-
11    tiffs contend that “Defendants have admitted that they already are identifying certain
12    class members.” Mot. 15. While it is true that the government has twice generated a
13    list of aliens in ICE’s custody who received negative credible-fear determinations
14    from USCIS pursuant to the rule, and whose cases were not pending before EOIR,
15    this search was both over- and under-inclusive of potential class members. It was
16    over-inclusive because it identified a subset of aliens who received negative credi-
17    ble-fear determinations from USCIS pursuant to the rule, which includes more than
18    just class members. See PI Order 36. And it was under-inclusive because USCIS’s
19    data concerning negative credible-fear determinations (from which the lists were
20    generated) is not a reliable proxy for all aliens subject to the rule, and thus potentially
21    did not capture some number of class members. See Ex. 2 ¶¶ 5–10 (explaining limi-
22    tations of USCIS’s data). Thus, USCIS’s data cannot produce a comprehensive class
23    list.
24            Plaintiffs also say that the government can generate a class list because CBP
25    instructed Border Patrol agents and CBP officers to annotate Forms I-213 when they
26    encounter a potential Al Otro Lado class member. See Mot. 16 (citing Lev. Decl.
27    ¶¶ 8(a), 8(b), 11). But this data cannot be used to generate a comprehensive class list
28    because it includes, at most, aliens who entered the United States after Border Patrol


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1     and OFO issued their instructions in November and December 2019 to annotate the
2     Forms I-213 when an individual affirmatively claims class membership. It would
3     not include anyone who entered the United States before those instructions were
4     issued. Further, the majority of these records can only be reviewed manually for the
5     relevant annotations, so there is a substantial burden associated with developing even
6     a partial class list using the Forms I-213. See Ex. 7 ¶¶ 4–6.
7            Similarly, EOIR’s electronic records system does not as a matter of course
8     track whether an alien was subject to metering. See Ex. 3 ¶¶ 14, 16. It also does not
9     track whether an alien was denied asylum based on the rule. See Ex. 3 ¶¶ 12–13. To
10    develop a class list from EOIR’s records, every immigration court in the country
11    would need to assign an employee (during a global pandemic) to manually pull the
12    paper records of proceedings for every alien who entered the United States on the
13    southern border on or after July 16, 2019, and manually review the entire record of
14    proceeding—which can be hundreds of pages long and sometimes contain hours of
15    audio recordings—for indicia of class membership. Ex. 3 ¶ 16; see also id. ¶¶ 11–
16    21 (explaining substantial burdens on EOIR).
17           Thus, even if it were possible to develop a comprehensive class list using the
18    government’s records, it would impose a substantial burden. Plaintiffs should at a
19    minimum bear the costs of developing a class list, particularly where the government
20    has employed reasonable and comprehensive methods of identifying class members
21    in the course of proceedings. See Oppenheimer Fund, Inc., 437 U.S. at 538–39; see
22    also id. at 362–63 (“[T]he suggestion that [Defendants] should have used ‘different
23    systems’ to keep their records borders on the frivolous.”).
24                                      CONCLUSION
25           This Court should deny Plaintiffs’ Motion to Clarify the Preliminary Injunc-
26    tion in its entirety.
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1                               CERTIFICATE OF SERVICE
2                  Al Otro Lado v. Wolf, No. 17-cv-02366-BAS-KSC (S.D. Cal.)
3           I certify that I served a copy of this document on the Court and all parties by
4     filing this document with the Clerk of the Court through the CM/ECF system, which
5     will provide electronic notice and an electronic link to this document to all counsel
6     of record.
7
8     DATED: August 3, 2020                  Respectfully submitted,
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